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                     Exhibit A - Liquidation Analysis Page 1 of 1

           Asset          Scheduled Value     Liquidation Discount   Liquidation Value
Cash & Cash Equivalents           $5,002.69                   0.00%            $5,002.69
Food on Hand                     $18,000.00                  80.00%            $3,600.00
Alcohol on Hand                   $7,500.00                100.00%                 $0.00
Miscellanious Inventory           $1,500.00                  50.00%              $750.00
Equipment                        $54,800.00                  50.00%           $27,400.00
Total                            $86,802.69                      n/a          $36,752.69
